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ExMe 7 8B (a) —Cc)
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FBOP
Office of Internal Affairs
320 First Street N.W. Ste 600
Washington, DC
2-1-2024
Joshua Voress
73279=112
FCI Yazoo City Low I

P.O. Box 5000
Yazoo City, MS 39194

Re: Violation P.S. 1040.04 Non-Discrimination Toward Inmates

Sir/Ma'am,

On or about the 3rd of January, I overheard my unit counselor Mr. Jefferson
say that "Hitler was right". Parroting the over 46,000 times that same phrase

was used on social media (according to the New York Times) since the massacre
on October 7, 2023 in Israel by Hamas.

I approached Mr. Jefferson and told him that, "I am Jewish, and what
you said was at the very least, insensitive." Jefferson's response was "Oh...
Um... I meant his economic policies.'' Are those the same economic policies
that required Jews to turn over all of their valuables and be marched off
to extermination camps? I hardly find this more comforting.

This issue is even more appalling because I am in the RDAP unit. (Mr. Jefferson
is the counselor in the RDAP unit). How does this balance? I am expected to
go above and beyond to be a better person and apply all of the lessons and
this person who should be leading by example is an anti-Semitic racist.

It is important to note Mr. Jefferson is black. I can't imagine how sadly

misinformed he must be. Hitler got the above-referenced "economic policies"

and idea for slave labor camps - in part from the Jim Crow laws of the American

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Since that day, Mr. Jefferson has treated me different. I asked for a
BP-8, he said ''No!'"' This is a denial of access to the Administrative Remedy
process. It took two more attempts to get a BP-8 (see Exhibit 1). A black
inmate Leelan Williams got a BP-8 the same day and got an answer and a BP-

9 on 1-11-24. 7 days. (see Exhibit 2) As of 1-22-24 I still had not received
my reply. I asked Jefferson about this and he said "I got a response but I'm
not going to give it to you because you're moving."

Nothing in the AR P.S. 1330.18 even suggests that I am denied a reply
simply because I may move to another unit. As of Feb 1, 2024, I have not moved.
(id at Exhibit 1).

I made it clear to him I needed the reply to continue the AR process.

He said he would print it out. So I stood there waiting and he just looked
at me. He did not mean right then when he was not busy, during his open house
hour.

I returned to his office on 1-26-24 to address the issue again. I asked
politely and professionally, and his response was "That's your problem, you
talk too much."' and I was dismissed (Exhibit 3).

Within 2 hours of sending that email to my Unit team I was called into
Unit Manager McKinzie's office and questioned about the Hitler comment. I
know I will be retaliated against further if I had spoken my mind, so I downplayed
it. Funny McKinzie, the Unit Manager, refused to get me the BP-8 as well,
saying Jefferson had to give it to me.

First, Jefferson's words were offensive and could be construed as profane
and obscene (violating PS 3420.11(5)(c) Standards of Employee Conduct, which
he had to sign as part of his employment at the BOP). Second, that Jefferson
got a response back to Mr. Williams in 7 days and it is now nbaring a month
shows favoritism (id at (5)(c)). Third, regardless of his political affiliation,

or religious beliefs - that he uses to create a discriminatory and hostile
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environment further violates (5)(c) “Employees must avoid situations that
give rise to a conflict of interest or the appearance of a conflict of interest."
and "Employees SHALL not participate in donduct that would lead a resonable
person to question their impartiality."

These actions would be a Classification 2, Discrimination (not defined

in Classification 1). and a Classification 3, Unprofessional Conduct.

Joshua Vord ye’
73279-112

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YAXL3 30.178

Wk Bt Administrative Remedy Program
Yt YU : J Page 6

Attachment A

Federal Correctional Complex, Yazoo City, Mississippi
Request for Administrative Remedy
Attempt at Informal Resolution

Inmate Name: Joshua Voress

Register No: —73279-112
Unit: Althea 2 (ROAP)

TO BE COMPLETED BY INMATE: , as

il. Briefly state your complaint. Include all details and facts which support
| yOur request and the date on which the complaint occurred.

Pursuant to the FSA and SCA, I am eligible for Transfer to Pre-Release Custody no later than 2-22-24, and
as early as 1-1-2023 (1 year ago). See ettached info/calculatios.

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'

'

2. What actions are you requesting to resolve your complaint?

Explain why I have not been put in for blilfway house/hore confinanent, or provide stabutory or constitutional
justification for holding me beyond my release date, in violation of fedecal lav. .

TO BE COMPLETED BY STAFF: '

3. Indicate below the efforts made to resolve the matter. Be specific, but
brief. include names of staff contacted to attampt resolution. (Use back of
this form if necessary.)

Correctional Counselor/Date Inmate Signature/Date —

Unit Manager Review/Date

NOTE: Attach any pertinent documentation related to the inmate's complaint.
BP-8 | BP-4 BP-9 Issued | BP~9 BP-9 Delivered
Issued Returned To | To Innate Returned to to Admin. Aamedy
To Inmate Counselor Counsalor. Clerk

Date l/o Uy

Counselor atte CIN

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Administrative Resedy Program
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Attachment A
Federal Corractionai Complex, Yazoo City, Mississippi .

Raquast for Administrative Remedy
Attempt at Informal Resalution

oO . Hee
Inmate Name: ALS
Register Wo: ~
Unit: A: _.

TO BE COMPLETED BY INMATE:

i. Briefly state your complaint. Include all details and oO ”n Tes
your request and the date on which the complaint occurred. Nn Thfe. .
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2. (What actions are you requesting to resolve your complaint?

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TO BE COMPIETED BY STARE:

3. Indicate below the efforts made to rasolve the matter. Be specific, but
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Gait ager Review/Date

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US. Department of Justice RESPONSE TO REQUEST FOR ADMINISTRATIVE
REMEDY
Federal Bureau of Prisons
From: Williams, Leelon 27407-044 1BL FCC Yazoo City
LAST NAME, FIRST, MIDDLE INITIAL REG. NO, UNIT . INSTITUTION

PART B- RESPONSE
Remedy ID -

This is in response to your Request for Administrative Remedy dated January 4, 2024. You state that your unit team has
not put you in for RRC/ HC.

A review of this matter shows that Unit team will review for RRC 17-19 month from release. At this time, you
have earned 365 days of FTC/ 310 days towards RRC/HC. As always, your unit team will encourage you to
continue programing. Please follow up with your unit team at your scheduled program review. | hope this
address your concerns.

I trust this-has addressed your concerns.
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bk
TRULINCS 73279112 - VORESS, JOSHUA LEE - Unit: YAZ-A-B Exh BL

FROM: 73279112

TO: Unit A

SUBJECT: “**Request to Staff’** VORESS, JOSHUA, Reg# 73279112, YAZ-A-B
DATE: 01/29/2024 01:19:52 PM

To:
Inmate Work Assignment: RDAP

This is to confirm that on 1/4/24 { turned in a bp-8 to counselor Jefferson. | went to Jefferson's open house on 1/22/24 and
asked for my bp8 and he told me it was answered but | don't need it because he is moving me. | told him | needed it to continue
my administrative process. He than told me he would give it to me once he printed it. | than asked him if | should wait and he
told me he would call me. On 1/26/24 | asked him again for my bp8 and he told me “that's your problem you talk to much" Mr,
Jefferson has not been available for me to get my bp8 back and to give me my bp9. I have asked other members of the unit
team and they have all told me that is Jefferson's job.

He further made the comment "that Hitler was right" after the Hammas attacks earlier this year. When | explained to him that |
was Jewish he told me that he was talking about his economical policies. | feel like he is refusing to give me back my BP8
because of this discussion. Another inmate filed a bp8 with him on the same day about the same thing and received a answer
on 1/11/24, | would like a explanation why | am being treated differently.
